                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF TENNESSEE
                              COLUMBIA DIVISION

RUBEN CLANTON,                                )
                                              )
       Plaintiff,                             )
                                              )
v.
                                              )   CIVIL ACTION NO.: 1:13-CV-00031
HARTFORD LIFE AND ACCIDENT                    )   SHARP/ BRYANT
INSURANCE COMPANY,                            )
                                              )
       Defendant.                             )
                                              )


                    JOINT STIPULATION OF DISMISSAL

      COME NOW the Plaintiff, Ruben Clanton (“Plaintiff”), and Defendant,

Hartford Life and Accident Insurance Company (“Defendant”), by and through

their undersigned counsel, and agree and stipulate that the above-styled action and

all claims contained therein should be dismissed with prejudice against Defendant

with each party to bear its own costs.

       Respectfully submitted on this the 3rd day of July, 2013:


                                          s/ J. Anthony Arena   (w/ consent)
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                                         Attorney for Plaintiff Ruben Clanton




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                                      s/ Grace Robinson Murphy
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                                     (615) 780-7975

                                     Attorneys for Defendant Hartford Life and
                                     Accident Insurance Company



                        CERTIFICATE OF SERVICE

     I hereby certify that a copy of the foregoing Joint Stipulation of Dismissal
has been served upon the following counsel of record to this proceeding by
CM/ECF this the 3rd day of July, 2013:

            J. Anthony Arena
            Arena Law Firm
            5214 Maryland Way, Suite 402
            Brentwood, TN 37027



                                     s/ Grace Robinson Murphy
                                     OF COUNSEL




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